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1

2
3
4
                            UNITED STATES DISTRI CT CO URT
5
                    FOR THE EASTERN DISTRICT OF C ALIFORNIA
6
7
     FAMILY F ARM ALLIANCE ,                           1:09-cv- 01201 OWW DL B
8
                           Plaint iff,                 MEMORAND UM DEC ISION RE
9                                                      CROSS MO TIONS FOR SUMMARY
                                                       JUDGMENT ON CL AIMS TWO AND
10
     KENNETH LEE SALAZAR, as                           THREE (D OCS. 5 4 & 60)
11   Secretar y of the Uni ted States
     Departme nt of the In terior, et
12   al.,

13                         Defend ants.
14
                                      I. INTRODUCTION
15
            Before t he Court for decision are cross motions f or
16
     summary judgment on two of Plaintiff’s, Family Fa rm
17
     Alliance ’s (“FFA”), three claims. 1                    The Second Claim
18
19   alleges that Defenda nt, Kenneth Salazar, Secretar y of the

20   United S tates Depart ment of the Interior, through the

21   United S tates Fish a nd Wildlife Service (“FWS”) f ailed to
22   timely r espond to FF A’s appeal filed under the
23
     Informat ion Quality Act ( “IQA”), Pub. L. No . 106- 554, §
24
     515(a) ( 2000), 44 U.S.C. § 3516, and Guidelines issued by
25
     the Offi ce of Manage ment and Budget (“OMB”) and F WS to
26
            1
              Th e Fi rs t Cl ai m fo r Rel ie f ha s be e n c on so li da te d wi th t he
27   cla im s in t he D el ta S mel t Co ns ol id a ted C as es , 1: 09 -c v- 00 407 . C ro ss
     mot io ns o n al l co ns ol ida te d cl ai ms in th e De lt a Sm el t ca ses h av e
28   bee n se pa ra te ly s ub mi tte d fo r de ci s ion .
                                                 1
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1    implemen t the IQA.       That appeal disputed FWS’s IQ A
2    complian ce in connec tion with FWS’s issuance of a 2008
3
     Biologic al Opinion u nder the Endangered Species A ct
4
     (“ESA”), addressing the impact of the coordinated
5
     operatio ns of the fe deral Central Valley Project (“CVP”)
6
     and Stat e Water Proj ect (“SWP”) on the threatened Delta
7
8    smelt (h ypomesus tra nspacificus) (“2008 Sme lt BiO p”).

9    The Thir d Claim alle ges that the peer review FWS

10   commissi oned to revi ew the 2008 Smelt BiOp violat ed
11   National Academy of Sciences (“NAS”) standards go verning
12
     peer rev iewer confli cts of interest, incorporated by
13
     referenc e into FWS’s IQA Guidelines.
14
          FFA move s for summar y judgment, arguing: (1) its IQA
15
     claims a re judiciall y reviewable; (2) it has stan ding to
16
17   maintain these claim s in federal court; and (3) i t is

18   entitled to judgment on the merits of its Second and
19   Third cl aims.      Doc. 54.     Federal Defendants filed a
20
     combined cross motio n/opposition, arguing: (1) Pl aintiff
21
     lacks st anding; (2) there is no right to judicial review
22
     of Plain tiff’s IQA c laims; (3) the Second Claim i s moot
23
     because FWS responde d to FFA’s appeal; and, in th e
24
25   alternat ive, (4) Federal Defendants are entitled to

26   summary judgment on the merits.             Doc. 61.     FFA fi led a

27   combined reply/oppos ition.          Doc. 67.     Federal Def endants
28
                                          2
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1    replied.     Doc. 68.
2
                            II. FACTUAL BACKGR OUND
3
          On Decem ber 14, 2008 , FFA submitted to FWS a “Req uest
4
5    for Corr ection” of information in the draft effects

6    analysis of the 2008 Smelt BiOp (“Request”), whic h

7    asserted that the 20 08 Smelt BiOp did not comply with the
8    IQA and the ESA and requested that the 2008 Smelt BiOp be
9
     withdraw n and correc ted under the IQA.             The Reque st
10
     containe d twenty-five spe cific demands, inc luding but not
11
     limited to primary r equests that: (1) assumptions
12
     containe d in the ana lysis regarding the decline i n Delta
13
14   smelt be replaced wi th actual data and analysis

15   supporti ng those ass umptions; (2) all statements,

16   assumpti ons, and ass ertions which are not support ed by
17   the best available s cientific data and/or are
18
     contradi cted by data and analysis be removed and replaced
19
     with sta tements that are supported by the best av ailable
20
     scientif ic data and analysis; (3) all state ments which
21
22   are pred icated on sp eculation, hypothesis, or

23   supposit ion, rather than data, be removed; (4) th e degree

24   of uncer tainty regar ding the cause of the decline of
25   delta sm elt be fully disclosed; (5) well-supported dat a
26
     and anal ysis which demons trates that water projec t
27
     pumping operations h ave no important effects on a bundance
28
                                          3
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1    of delta smelt be ac knowledged; and (6) the 2008 Smelt
2    BiOp be appropriatel y peer reviewed.             See Request, AR
3
     200001-2 00018.
4
          On Decem ber 23, 2008 , FWS sent FFA an interim
5
     response , acknowledg ing receipt of the Request on
6
     December 15, 2008.        AR 800195.      On March 12, 2009 ,
7
8    seventy- nine days af ter FWS confirmed receipt of the

9    Request for Correcti on, FWS transmitted its forma l

10   Response to the FFA.         AR 200019.      The Response stated
11   that no correction w as needed as to any of FFA’s
12
     requests .    AR 200019 .
13
          On April 1, 2009, FF A appealed FWS’s denial of it s
14
     Request (the “Appeal ”) pursuant to FWS IQA Guidel ines,
15
     alleging deficiencie s in FWS’s Response.               On Apri l 27,
16
17   2009, FW S sent an interim response letter t o FFA,

18   acknowle dging receip t of the Appeal on April 1, 2 009 and
19   advising that, altho ugh the IQA Guidelines provide that
20
     the Acti ng Director has sixty days to respond to an
21
     Appeal, due to the “ series of complex scientific and
22
     legal is sues” raised in the Appeal, the fin al
23
     determin ation may no t be completed within that ti me.                 AR
24
25   800361.

26        On May 1 8, 2009, FFA sent correspondence to FWS

27   regardin g the discov ery by another organization t hat FWS
28
                                          4
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1    did not possess cert ain data sets on which it relied in
2    preparin g the 2008 B iological Opinion.             AR 800364 .     On
3
     June 8, 2009, FWS re sponded, indicating that the agency
4
     viewed F FA’s May 18, 2009 correspondence as a
5
     suppleme ntal request for correction, which is not
6
     provided for under t he IQA, and would treat it as a
7
8    revised appeal (whic h also is not provided for un der the

9    IQA), ex tending the FWS’s time to decide FFA’s Ap peal by

10   another 60 days.        AR 800371.       On June 11, 2009, F FA
11   responde d, disputing the FWS’s classification of the May
12
     18, 2009 letter as a revised appeal a nd off ering to
13
     withdraw the letter.         AR 800373.
14
            FFA file d this lawsu it on July 10, 2009, claiming
15
     FWS:
16
17              (1) Fail ed to comply with the IQA, the IQA

18              Guidelin es, and the ESA in promulgating the 2008
19              Biologic al Opinion;
20
                (2) Was unreasonably dela ying responding to
21
                FFA’s IQ A Appeal; an d
22
                (3) Fail ed to conduc t an adequate peer review of
23
                the 2008 Smelt BiOp, because the peer reviewers
24
25              engaged by FWS to re view the Biological Opinion

26              did not meet NAS sta ndards for independence.

27   Doc. 1.
28
                                          5
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1         On Novem ber 20, 2009 , FWS sent FFA a document
2    entitled :       “U.S. Fis h and Wildlife Service’s Resp onse to
3
     the Fami ly Farm Alli ance Information Quality Act (IQA)
4
     Appeal o f the Draft Effects Analysis of the Biolo gical
5
     Opinion on the Conti nued Long-Term Op erations of the
6
     Central Valley Proje ct (CVP) and the State Water Project
7
8    (SWP) Ap ril 1, 2009” (“Appeal Response”).                        AR 800 460.

9    The Appe al Response contains a report entitled

10   “Indepen dent Expert Panel Review of the Family Fa rm
11   Alliance ’s Informati on Quality Act Request for
12
     Correcti ons” (“Panel Review”), conducted by Post,
13
     Buckley, Shuh & Jern igan (“PBS&J”). 2                    On Mar ch 16, 2010 ,
14
     Deputy S ecretary of the Interior, David J, Hayes, sent a
15
     letter t o FFA, stati ng Mr. Hayes’s belief that FW S “fully
16
17   complied ” with the I QA.             See Declaration of Brend a W.

18   Davis, D oc. 54-2, Exhibit B.
19        In respo nse, FFA sen t Mr. Hayes a letter alleging
20
     that the Appeal Resp onse was deficient and not in
21
     complian ce with the IQA.               Id. , Exhibits A a nd C.             Amon g
22
     other th ings, FFA as serted that the Appeal Response di d
23
     not resp ond to the a ctual requests contained in t he
24
25   Request for Correcti on and Appeal, and instead

26   summariz es, repurpos es, and essentially rewrites FFA’s

27
28        2
              Th is i s no t th e pe er re vi ew c ha ll e nge d in t he T hi rd C la im.
                                                6
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1    requests .     See id. Exhibi t A; see als o Requ est for
2    Correcti on, AR 20000 1-200 018.
3
4                            III. LEGAL FRAMEWOR K

5    A.   Summary Judgment.

6         Summary judgment is proper where the pleadings,

7    discover y and affida vits show that there is “no g enuine

8    issue as to any mate rial fact and that the moving party
9    is entit led to judgm ent as a matter of law.”               Fed . R.
10
     Civ. P. 56(c).       Summary j udgment is an appr opriat e
11
     mechanis m for resolv ing challenges to final agenc y
12
     action.      See Occiden tal Eng’ Co. v. INS, 753 F.2d 766,
13
     770 (9th Cir. 1985).
14
15
     B.   Informat ion Quality Act.
16
          The IQA provides in its entirety:
17
                (a) IN G ENERAL.--The Director of the Office of
18              Manageme nt and Budge t shall, by not later than
                Septembe r 30, 2001, and with public and Federal
19              agency i nvolvement, issue guidelines under
                sections 3504(d)(1) and 3516 of title 44, United
20
                States C ode, that pr ovide policy and procedural
21              guidance to Federal agencies for ensuring a nd
                maximizi ng the quali ty, objectivity, utility,
22              and inte grity of inf ormation (including
                statisti cal informat ion) disseminated by Federal
23              agencies in fulfillm ent of the purposes and
                provisio ns of chapte r 35 of title 44, Unite d
24
                States C ode, commonl y referred to as the
25              Paperwor k Reduction Act.

26              (b) CONT ENT OF GUIDE LINES.--The guide lines under
                subsecti on (a) shall--
27
                      (1) appl y to the sha ring by Federal agencies
28
                                          7
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1                     of, and access to, i nformation disseminated
                      by Feder al agencies; and
2
                      (2) requ ire that eac h Federal agency to
3
                      which th e guidelines apply--
4
                            (A) issu e guidelines ensuring and
5                           maximizi ng the quali ty, objectivity,
                            utility, and integri ty of information
6                           (includi ng statistic al information)
                            dissemin ated by the agency, by not
7                           later th an 1 year after the date of
8                           issuance of the guid elines under
                            subsecti on (a);
9
                            (B) esta blish admini strative mechanisms
10                          allowing affected pe rsons to seek and
                            obtain c orrection of information
11                          maintain ed and disse minated by the
12                          agency t hat does not comply with the
                            guidelin es issued un der subsection (a);
13                          and

14                          (C) repo rt periodica lly to the
                            Director--
15
                                  (i) the number and n ature of
16
                                  complaints rec eived by th e agency
17                                regarding the accura cy of
                                  information di ssemin ated by the
18                                agency; and
19                                (ii) how such compla ints were
                                  handled by the agenc y.
20

21
     Pub. L. 106-55 4, 114 Stat 2763, 2763A-153-2763A-154
22
     (2000)(c odified at 44 U.S.C. § 3516).              The IQA has no
23
     legislat ive history.
24
25        Subsecti on (a) manda tes t hat the Office of Management

26   and Budg et (“OMB”) i ssue, by no later than Septem ber 3 0,

27   2001, go vernment-wide gui delines to ensure the “quality,
28
                                          8
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1    objectiv ity, utility , and integrity of informatio n”
2    dissemin ated by fede ral agencies.                         See Pub. L. No. 106 -
3
     554, § 5 15(a) (2000) .                The statute itself contains no
4
     substant ive provisio ns regarding information qual ity,
5
     leaving the structur e and design of any such requ irements
6
     to OMB.        Nor is ther e any relevant legislative hi story
7
8    disclosi ng sub stanti ve Co ngressional intent regarding

9    informat ion quality.

10          Within o ne year of O MB’s issuance of Guidelines, each
11   federal agency was r equired to issue its own guid elines
12
     consiste nt with OMB’ s.                 Id. a t § 515(b)(2)(A).                  OMB, t he
13
     Departme nt of the In terior, and FWS timely issued the
14
     required guidelines.                 See , e. g., Guidelines for E nsuri ng
15
     and Maxi mizing the Quality, Objectivity, Utility, and
16
17   Integrit y of Informa tion Disseminated by Federal

18   Agencies , 67 Fed. Re g. 8,452 (Feb. 22, 2002) (“OM B IQA
19   Guidelin es”); Inform ation Quality Guidelines of t he U.S.
20
     Departme nt of the In terior, 67 Fed. Reg. 50,687 ( Aug. 5,
21
     2002)) ( “DOI IQA Gui delines”); FWS Information Qu ality
22
     Guidelin es (“FWS IQA Guidelines”) 3 .                         The IQA specifically
23
     required agencies to “est abli sh admin istrat ive mechani sms
24
25   allowing affected pe rsons to seek and obtain corr ection

26   of infor mation maint ained and disseminated by the

27
            3
               Av ai la bl e at h tt p: // www .f ws .g ov /i n for ma ti on qu al it y/ to pi cs/
28   IQA gu id el in es -f in al 82 307 .p df ( la st vis it ed A ug us t 11 , 20 10) .
                                                     9
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1    agency.. ..” and to “ report periodically” on “the number
2    and natu re of compla ints received by the agency r egarding
3
     the accu racy of info rmation disseminated by the a gency”
4
     and “how such compla ints were handled by the agen cy.”
5
     Id. at § 515(b)(2)(B )&(C)(emphasis ad ded).
6
           FWS’s ow n IQA Guidel ines are specific to its
7
8    activiti es and disse minations, including biologic al

9    opinions , and state that in order to ensure objec tivity

10   of infor mation disse minated, the information will be
11   presente d in a n “accurate[],” “clear[],” “complete[],”
12
     and “unb iased” manne r.        FWS IQA Guidelines III-8.             In
13
     addition , FWS’ IQA G uidelines require that a “pre parer of
14
     a highly influential assessment or of influential
15
     informat ion ... docu ment the strengths and weakne sses of
16
17   the data underlying the assessment/information so that

18   the read er will unde rstand the context for the FW S
19   decision .”     FWS IQA Guidelines § VI-10.
20

21                                 IV. ANALYSIS

22   A.    Threshol d Issues.

23         Federal Defendants a rgue that Plaintiff’s claims fail

24   for the following threshold reasons:

25               (1) Plai ntiff’s Seco nd Cause of Action is Moot;
26               (2) Ther e is no righ t to judicial review of
27
                 either I QA claim at issue in this motion; and/or
28
                                          10
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1                (3) Plai ntiff has no t established standing to
2                sue.
3
4          1.    Second C laim for Rel ief is Moot.

5          An issue is moot “wh en the issues presented are n o

6    longer ‘ live’ or the parties lack a legally cogni zable

7    interest in the outc ome.”          City of Erie v. Pap’s A.M.,
8    529 U.S. 277, 287 (2 000).          If the parties cannot obtai n
9
     any effe ctive relief , any opinion about the legality o f a
10
     challeng ed action is advisory.            Id.    “Mootn ess has been
11
     describe d as the doc trine of standing set in a ti me
12
     frame: T he requisite personal interest that must exist at
13
14   the comm encement of the litigation (standing) mus t

15   continue throughout its existence (mootness ).”                 Arizon ans

16   for Offi cial English v. Arizona, 520 U.S. 4 3, 68 n.22
17   (1997) ( citation and quotation omitted).               “[A]n a ctual
18
     controve rsy must be extant at all stages of revie w, not
19
     merely a t the time t he complaint is filed.”               Id. at 67.
20
           Here, Pl aintif f’s Second Claim for Relief a lleges
21
22   that FWS ’s failure t o timely respond to FFA’s app eal

23   violated the IQA Gui delines’ timeline for respond ing to

24   such app eals and tha t this constitutes an “unlawf ul
25   delay” u nder the Adm inistrative Procedure Act (“A PA”),
26
     which au thorizes a r eviewing court to “compel agency
27
     action u nlawfully wi thheld or unreasonably delaye d.”                 5
28
                                          11
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1    U.S.C. § 706(1).        It is u ndisputed that FWS respo nded to
2    FFA’s ap peal on Nove mber 20, 2009.            The only reli ef a
3
     court ma y order in a n unlawful delay claim is to compe l
4
     the agen cy to act.        There is no longer any relief
5
     availabl e to Plainti ff in connection with this cl aim.
6
     See Cart er v. Vetera ns Admin., 780 F. 2d 1479, 148 1 (9th
7
8    Cir. 198 6).

9          Plaintif f rejoins th at the November 20, 2009 resp onse

10   is insuf ficien t to m oot the Second Claim for Reli ef
11   because FWS “failed to actually respond to [FFA’s ]
12
     Request for Correcti on and the subsequent IQA App eal.”
13
     Doc. 67 at 17.       Spec ifically, Plaintiff complains that
14
     FWS “ign ored the que stions in the Request for Cor recti on,
15
     repurpos ed some of t he issues raised in that peti tion
16
17   into gen eral concept s, and provided generic summa ries in

18   response to the FWS’ s own inquiries; all of which avoided
19   respondi ng to the fu ndamental requests posed by [ FFA].”
20
     Id.    Thi s is a challenge to the merits, sub stance , and
21
     sufficie ncy of FWS’s response that goes beyond th e
22
     allegati on of agency delay on which the Second Cl aim is
23
     premised .     A merits challenge to the Appeal Respo nse has
24
25   not been raised in t he Complaint; FFA has not mov ed for

26   leave to amend its C omplaint; and the Complaint c annot be

27   amended to avoid sum mary judgment because of the
28
                                          12
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1    addition al jurisdict ional defects discussed below .
2           Plaintif fs’ argument that the controversy is ongo ing
3
     (and the refore not m oot) because the 2008 Smelt B iOp h as
4
     not been withdrawn f rom the public domain is unav ailing.
5
     The Seco nd Claim for Relief specifically challeng es the
6
     timing o f FWS’s fail ure to respond to FFA’s IQA Appeal.
7
8    FWS resp onded.          Any controversy over the ti ming o f FWS ’s

9    response is mo ot.            Carter, 780 F.2d at 1481 (wher e onl y

10   relief i s to compel action which has been taken, no
11   further relief can b e provided).                     Thi s claim fails as a
12
     matter o f law.
13
14          2.     Right to Judicial Re view Under the
                   Administ rative Proce dure Act.
15
            It is un disputed tha t the IQA provides no private
16
     right of action. 4            A party challenging an administrativ e
17
     agency’s compliance with a substantive statute th at lacks
18
19   an inter nal private right of action must seek jud icial

20          4
               Pl ai nt if f is c or re ct th at t he l ac k of “ ri gh ts -c re at in g”
     lan gu ag e in t he I QA i s n ot f at al t o it s cl ai ms , bu t FF A
21   mis un de rs ta nd s th e re aso n wh y th e a bse nc e of s uc h la ng ua ge is n ot
     dis po si ti ve . P la in ti ff di sc us se s a t g re at l en gt h th e ex amp le o f th e
22   Nat io na l En vi ro nm en ta l P ol ic y Ac t ( “NE PA ”) , ar gu in g NE PA is a
     pro ce du ra l st at ut e si mil ar t o th e I QA fo r wh ic h ju di ci al re vi ew i s
23   pro vi de d. Ju di ci al r evi ew o f NE PA cas es i s af fo rd ed u nd er th e AP A,
     so lo ng a s th e th re sh old j ur is di ct i ona l re qu ir em en ts o f the A PA a re
24   sat is fi ed . W he th er t hos e th re sh ol d re qu ir em en ts a re s at isf ie d wi th
     res pe ct t o th e IQ A cl aim s in t hi s c ase i s a se pa ra te q ue sti on t ha t
     is no t re so lv ed b y vi rtu e of t he f a ct th at N EP A ca se s ar e r ev ie wa bl e
25   und er t he A PA . W hi le NE PA a nd t he IQA m ay b ot h be p ro ce dur al
     sta tu te s, t he ir p ro vi sio ns a re f ar fro m id en ti ca l. NE PA co nt ai ns
26   spe ci fi c st at ut or y co mma nd s th at f e der al a ge nc ie s pr ep ar e
     env ir on me nt al i mp ac t sta te me nt s (“ E IS” ) be fo re u nd er ta ki ng “m aj or
27   Fed er al a ct io ns s ig ni fic an tl y af fe c tin g th e hu ma n en vi ro nme nt .”
     Man da to ry i nf or ma ti on mu st b e in cl u ded i n ev er y EI S as d efi ne d by
28   sta tu te . T he I QA c on tai ns n o su ch spe ci fi c re qu ir em en ts .
                                                 13
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1    review u nder the APA .        See Lujan v. Nat’l Wildlif e Fed’n,
2    497 U.S. 871, 882 (1 990); Vil lage of False Pass v. Cla rk,
3
     733 F.2d 605, 609 (9 th Cir. 1984) (because ESA co ntains
4
     no inter nal standard of review, APA § 706 governs review
5
     of actio ns brought u nder the ESA).
6
           The APA authorizes s uit by a plaintiff “suffering
7
8    legal wr ong because of agency action, or adversel y

9    affected or aggrieve d by agency action within the meaning

10   of a rel evant statut e.”         5 U.S.C. § 702.       There i s a
11   presumpt ion of revie wability under the APA.               Shalala v.
12
     Illinois Council on Long Term Care, Inc., 5 29 U.S . 1, 44
13
     n.11 (20 00).      Howeve r, the APA expressly pr eclude s
14
     judicial review wher e: (1) any statute “precludes
15
     judicial review”; or (2) “agency action is commit ted to
16
17   agency d iscretion by law.”           5 U.S.C. § 701(a).        I f either

18   of these exceptions is tr igge red, the lawsuit can not
19   proceed under the AP A.
20
           If neith er of these exceptions applies, the APA
21
     permits judicial rev iew of “[a]gency action made
22
     reviewab le by statut e and fin al agency action for which
23
     there is no other ad equate remedy in a court....”                    5
24
25   U.S.C. § 704.       Where a statute lacks an internal judicial

26   review p rovision, th e “agency action made reviewa ble by

27   statute” language is inapplicable, requiring the
28
                                          14
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1    existenc e of a “fina l agency action.”             “Agency ac tion” is
2    defined to include “ the whole or a part of an age ncy
3
     rule, or der, license , sanction, relief, or the eq uivalent
4
     or denia l thereof, o r failure to act.”              5 U.S.C. §
5
     551(13).     The APA re quires that the agency action be
6
     upheld u nless it is found to be “arbitrary, capri cious,
7
8    an abuse of discretion, or otherwise not in accordance

9    with law ,” or “witho ut observance of procedure re quired

10   by law.”     5 U.S.C. § 706(2).           The Third Claim for Relief
11   for fail ure to condu ct an appropriate peer review of the
12
     2008 Bio logical Opin ion invokes § 706(2) by alleging that
13
     the peer review was conducted “without observance of
14
     procedur e required b y law.”
15
16               a.    APA § 70 2(a)(2)’s Ex ception for Agency
                       Action “ Committed to Agency Discretion by
17                     Law” Bar s Judicial R eview in this Case.
18         Plaintif f does not a llege tha t any statute expressly
19
     preclude s judicial r eview of Plaintiff’s IQA clai m.                The
20
     issue is whether the IQA and/or its implementing
21
     guidelin es, by law, commit to agency discre tion t he
22
23   disputed agency acti ons c hall enged by Plaintiff’s claims.

24          The gen eral t est for when an action is “committed to

25   agency d iscretion by law” under the APA is whethe r there
26   is “no l aw to apply. ”        Heckler v. Chaney, 4 70 U.S . 821 ,
27
     830 (198 5) (internal quotation marks omitted).                 “Agenc y
28
                                          15
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1    action i s committed to the discretion of the agen cy by
2    law when ‘the statute is drawn so that a court would have
3
     no meani ngful standa rd against which to judge the
4
     agency’s exercise of discretion.’”              Steenho ldt v. FAA,
5
     314 F.3d 633, 638 (D .C. Cir. 2003) (quoting Heckl er, 470
6
     U.S. at 830).       “If n o ‘judicially manageabl e stan dard’
7
8    exists b y which to j udge the agency’s action, mea ningful

9    judicial review is i mpossible and the courts are without

10   jurisdic tion to revi ew that action.”             Id.    Here, the I QA
11   itself c ontains absolutely no substantive s tandar ds, let
12
     alone an y stan dards relevant to the c laims brought in
13
     this cas e conc erning the timing of response s to Reques ts
14
     and Appe als and the makeup of peer review panels.                    The
15
     statute itself commi ts the challenged agency acti ons to
16
17   the agen cy’s discret ion.         However, even “[w ]here an

18   action i s committed to absolute agency discretion by law,
19   ... cour ts have assu med the power to review alleg ations
20
     that an agency excee ded its legal authority, acte d
21
     unconsti tutionally, or failed to follow its own
22
     regulati ons.”      United States v. Carpenter, 526 F.3d 12 37,
23
     1242 (9t h Cir. 2008) ; see als o Padula v. Webster, 822
24
25   F.2d, 97 , 100 (9th C ir. 1987)(“Judicially m anagea ble

26   standard s may be fou nd in formal and informal pol icy

27   statemen ts and regul ations as well as in statutes , but if
28
                                          16
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1    a court examines all thes e possible sources and c onclu des
2    that the re is, in fa ct, ‘no law to apply,’ judici al
3
     review w ill be precl uded.”)(quoting Citizen s to P reser ve
4
     Overton Park, Inc. v . Volpe, 401 U.S. 402, 410 (1 971)) .
5
     The crit ical issue i s: Do the agency’s own regulations
6
     create m eaningful st andards or do they preserve t he
7
8    discretion aff orded by the statute?

9          Salt Ins titute v. Th ompson, 3 45 F. Supp. 2d 589 (E.D.

10   Va. 2004 ), aff’d sub nom. on alternate grounds, Salt
11   Inst. v. Leavitt, 440 F.3d 156 (4th Cir. 20 06), a pplie d
12
     701(a)(2 ) and Steenholdt to t he IQA, finding that
13
     “[n]eith er the IQA n or the OMB Guidelines provide
14
     judicial ly manageabl e standards that would allow
15
     meaningf ul judicial review to determine whether a n agency
16
17   properly exercised i ts discretion in deciding a r equest

18   to corre ct a prior c ommunication.”            With respect to the
19   request for correcti on at issue in Salt Institute :
20
                 [T]he gu idelines pro vide that “[a]gencies, in
21               making t heir determi nation of whether or not to
                 correct information, may reject claims made in
22               bad fait h or without justification, a nd are
                 required to undertak e only the degree of
23               correcti on that they conclude is appropriate for
                 the natu re and timel iness of the information
24               involved .” 67 Fed. Reg. at 8458. Courts have
25               determin ed that regu lations containin g simi lar
                 language granted suf ficient discretion to
26               agencies to preclude judicial review under the
                 APA. Se e Steenholdt, 314 F.3d at 638 (hold ing
27               that age ncy’s decisi on under a regulation
                 allowing an agency t o take an action “for any
28
                                          17
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1                reason t he Administr ation considers a ppropriate”
                 is commi tted to agen cy discretion and not
2                reviewab le under APA ). Judicial review of [the
                 agency’s ] discretion ary decisions is not
3
                 availabl e under the APA because the IQA and OMB
4                guidelin es at issue insulate the agency’s
                 determin ations of when correction of information
5                containe d in informa l agency statements is
                 warrante d.
6
     Id. at 6 02-603 .       Do the IQA Guidelines create mea ningful
7
8    standard s over the t iming of responses and/ or the make up

9    of a pee r review pan el, or do the Guidelines pres erve

10   agency d iscretion ov er these procedural matters?
11
                       (1)   Applicat ion to the S econd Claim for
12                           Relief.
13         The Seco nd Claim all eges that FWS failed “to time ly
14
     respond to [FFA’s] a ppeal and/or make corrections to the
15
     2008 Bio logical Opin ion.”         Doc. 1 at 16-17.        Neit her t he
16
     IQA itse lf nor the O MB Guidelines contain any rel evant
17
     deadline s.     The timi ng provisions FFA alleges wer e
18
19   violated are contain ed in FWS’s own IQA Guideline s.                 The

20   FWS IQA Guidelines p rovide a process for: (1) an initial

21   “Request for Correction of Informatio n”; an d (2) an
22
     administ rative appea l, or “Information Quality Ap peal.”
23
     For an i nitial petition, the FWS IQA Guidelines state:
24
     “FWS wil l review the request and issue a decision within
25
     90 calen dar days fro m the receipt of the challeng e.”                FWS
26

27   IQA Guid elines, Part V-6.          “If the request requir es more

28   than 90 calendar day s to resolve, the agency will inform
                                  18
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1    the requ ester that m ore time is required, indicat ing the
2    reason(s ) why and pr oviding an alternative timeli ne for
3
     reaching a decision. ”         FWS IQ A Guidelines, Part V -6.            If
4
     the init ial request is denied by FWS or if the re quester
5
     is “diss atisfied wit h a FWS decision regarding th eir
6
     request, ” the FWS IQ A Guidelines provide for an
7
8    administ rative appea l, and the “Director of the F WS or

9    his/her design ated r epres entative will make the final

10   decision on the appe al within 60 calendar days fr om
11   receipt of the appea l in the FWS.”             FWS IQA Guide lines,
12
     Part V-8 .
13
           Notwiths tanding the time period for r espond ing to an
14
     appeal c ontained in Part V-8, the Guidelines state tha t
15
     alternat ive procedur es may be utilized:
16
17               The qual ity of the i nformation that the FWS
                 dissemin ates is alwa ys important, however,
18               factors such as home land security, threats to
                 public h ealth, statu tory or court-ord ered
19               deadline s, cir cumsta nces beyo nd our control , or
                 other un foreseen eve nts may limit applicability
20
                 of these guidelines. The application of the se
21               factors will be dete rmined by the Director, FWS
                 or his/h er designee which may result in a
22               deferral , waiver, or use of alternative
                 procedur es.
23
     FWS IQA Guidelines P art II (emphasis added).                 Lik e the
24
25   guidelin es pertainin g to the decision whether or not to

26   correct information at issue in Salt Instit ute, w hich

27   were com pletely disc retionary because the agency could
28
                                          19
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1    “mak[e] their determ ination of whether or n ot to corre ct
2    informat ion, may rej ect claims made in bad faith or
3
     without justificatio n, and are required to undert ake only
4
     the degr ee of correc tion that they conclude is
5
     appropri ate for the nature and timeliness of the
6
     informat ion involved ,” 67 Fed . Reg. at 8458, so too Pa rt
7
8    II of th e FWS IQA Gu idelines consigns all matters related

9    to appli cation of th ose Guidelines, including the timing

10   of respo nses, to the discretion of FWS.               The FWS
11   Guidelin es prescribe a timeline for responding to
12
     Requests for C orrection and Appeals, but authorize the
13
     Director or his desi gnee to depart fr om the Guide lines
14
     under a wide range o f circumstances, including
15
     “circums tances beyon d our control or other unfore seen
16
17   events.”     Section 70 1(a)(2) bars judicial review of the

18   Second C laim for Rel ief because neither the IQA n or the
19   OMB Guid elines conta in substantive standards with respect
20
     to respo nse deadline s, and FWS’s own Guidelines p reserve
21
     the agen cy’s discret ion with respect to its deadl ines.
22
23                     (2)   Applicat ion to the T hird Claim for
                             Relief.
24
           The Thir d Claim for Relief alleges that FWS faile d to
25
     conduct an appropria te peer review of the 2008 Bi ological
26

27   Opinion.     Specifical ly, FFA alleges that certain members

28   of the p eer review b ody were not sufficiently independ ent
                                   20
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1    because they authored papers upon which por tions of th e
2    2008 Sme lt BiOp were based, were graduate student s of
3
     persons whose work f ormed the basis of portions o f the
4
     2008 Sme lt BiOp, wer e CALFED (a joint federal sta te
5
     initiati ve concernin g the Delta) grant recipients , and/or
6
     particip ated in work ing groups whose work product was
7
8    consider ed by the au thors of the 2008 Smelt BiOp.                               Doc. 1

9    at ¶60. 5

10          The OMB IQA Guidelin es define “quality,” “utility ,”
11   “objecti vity,” and “ integrity.” 6                   Only the “ object ivity ”
12
     definiti on contains guidance about pe er rev iew:
13
                   “Objecti vity” involv es two distinct elements,
14                 presenta tion and sub stance.
15                        a. “Obje ctivity” inc ludes whether
                          dissemin ated informa tion is being presented
16
                          in an ac curate, clea r, complete, and
17                        unbiased manner. Thi s involves whether the
                          informat ion is prese nted within a proper
18                        context. Sometimes, in disseminating certain
                          types of information to the public, other
19                        informat ion must als o be disseminated in
                          order to ensure an a ccurate, clear,
20
                          complete , and unbias ed presentation. Also,
21                        the agen cy needs to identify the sources of
                          the diss eminated inf ormation (to the extent
22                        possible , consistent with confidentiality
                          protecti ons) and, in a scientific,
23                        financia l, or statis tical context, the
24
            5
               At o ra l ar gu me nt , FF A m en ti on ed a num be r of o th er c om pl ain ts
25   abo ut t he p ee r re vi ew pr oc es s, n on e of w hi ch w er e ra is ed in t he
     Com pl ai nt .
26          6
               Pl ai nt if f ci te s th es e d ef in it io ns as ex am pl es o f ju di ci all y
     enf or ce ab le s ta nd ar ds . Ev en a ss um i ng th es e ar e en fo rc ea ble
27   sta nd ar ds , th ey d o no t a dd re ss t he dea dl in e is su es r ai se d b y th e
     Sec on d Ca us e of A ct io n a nd a re t he r efo re n ot d is cu ss ed i n c on ne ct io n
28   wit h th at c la im .
                                                 21
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1                      supporti ng data and models, so that the
                       public c an assess for itself whether there
2                      may be s ome reason t o question the
                       objectiv ity of the s ources. Where
3
                       appropri ate, data sh ould have full,
4                      accurate , transparen t documentation, and
                       error so urces affect ing data quality should
5                      be ident ified and di sclosed to users.

6                      b. In ad dition, “obj ectivity” involves a
                       focus on ensuring ac curate, reliable, and
7                      unbiased information . In a scientific,
8                      financia l, or statis tical context, the
                       original and support ing data shall be
9                      generate d, and the a nalytic results shall be
                       develope d, using sound statistical and
10                     research methods.
11                           i. If da ta and analytic results have
12                           been sub jected to fo rmal, independent,
                             external peer review , the information
13                           may gene rally be pre sumed to be of
                             acceptab le objectivi ty. However, this
14                           presumpt ion is rebut table based on a
                             persuasi ve showing b y the petitioner in
15                           a partic ular instanc e. If agency-
                             sponsore d peer revie w is employed to
16
                             help sat isfy the obj ectivity standard,
17                           the revi ew process e mployed shall meet
                             the gene ral criteria for competent and
18                           credible peer review reco mmen ded by
                             OMB-OIRA to the Pres ident’s Management
19                           Council (9/20/01)... namely, “that (a)
                             peer rev iewers be se lected primarily on
20
                             the basi s of necessa ry technical
21                           expertis e, (b) peer reviewers be
                             expected to disclose to agencies prior
22                           technica l/policy positions they may
                             have tak en on the is sues at hand, (c)
23                           peer rev iewers be ex pected to disclose
                             to agenc ies their so urces of personal
24                           and inst itutional fu nding (private or
25                           public s ector), and (d) peer reviews be
                             conducte d in an open and rigorous
26                           manner.”

27   67 Fed. Reg. 8,459-60.          This provides , gene rally, that
28
                                          22
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1    peer rev iew is one, but not the only, way to sati sfy the
2    objectiv ity requirem ent.         Where peer review is em ployed,
3
     it “shal l meet the g eneral criteria for competent and
4
     credible peer review recommended by O MB-OIR A to t he
5
     Presiden t’s Manageme nt Council (9/20/01)....”                Th e OMB-
6
     OIRA cri teria are not exp ressed as enforcea ble st andar ds.
7
8    Rather, they prescri be that (a) peer reviewers be

9    selected “prim arily” on t he basis of necessary technic al

10   expertis e; (b) peer reviewers are expected to “disclose”
11   prior te chnical/policy positions taken on t he issues a t
12
     hand, an d (c) their sources of personal and institutional
13
     funding (private or public); and (d) peer reviews are to
14
     be condu cted in an “ open and rigorous manner.”                Id.
15
           These cr iteria are n ot di sabl ing as they do not call
16
17   for disq ualification , even where potential source s of

18   conflict exist.        The OMB- OIRA criteria only requi re
19   disclosu re to the ag ency of prior technical or policy
20
     position s taken on t he issues under r eview and/or
21
     reviewer s’ sou rces of personal and institutional funding.
22
     The OMB- OIRA criteri a do not create e nforce able rules of
23
     conduct.     Nothing in the statute or the Guideline s
24
25   address the use of p eer reviewers with the potent ial

26   sources of conflict about which FFA complains.

27         FFA references the FWS IQA Guidelines at Part VI-2,
28
                                          23
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1    which st ate that “FW S adheres to the OMB Memorand um (M-
2    05-030) ‘Final Information Quality Bulletin for Peer
3
     Review’ dated Decemb er 16, 2004, to ensure that
4
     influent ial scientific information disseminated to the
5
     public i s subject to peer review.”                     For influential
6
     scientif ic informati on, the OMB IQA Bulletin for Peer
7
8    Review “ requires age ncies to adopt or adapt the commit tee

9    selectio n policies e mployed by the National Acade my of

10   Sciences (NAS) when selecting peer reviewers who are not
11   governme nt employees .”             See Doc. 61 at Ex. A (OMB
12
     Informat ion Quality Bulletin for Peer Review) at 3. 7                                 The
13
     NAS Poli cy reference d in the OMB IQA Bulletin is entitled
14
     “Policy on Committee Composition and Balanc e and Confl ict
15
     of Inter est” 8 and contains guidance on the subject of
16
17   conflict s of interes t.             Altho ugh the OMB IQA Bulletin for

18   Peer Rev iew requires each federal agency adopt or adapt
19   the NAS Policy when disseminating influential sci entific
20
     informat ion, i n a se parate section entitled “Judi cial
21
     Review,” the Bulleti n spe cifi cally disclaims crea ting any
22
     right to judicial re view:
23
                  This Bul letin is int ended to improve the
24                internal management of the executive branch, and
25                is not i ntended to, and does not, cre ate an y
                  right or benefit, su bstantive or procedural,
26
           7
               Th e OM B IQ A Bu ll et in fo r Pe er R ev i ew wa s pu bl is he d in t he
27   Fed er al R eg is te r. 70 Fe d. R eg . 2, 6 64 (J an . 14 , 20 05 ).
            8
               Se e Do c. 6 1- 2, E x. B , a va il ab le a t
28   htt p: // ww w. na ti on al ac ade mi es .o rg /c o i/i nd ex .h tm l.
                                                24
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1                enforcea ble at law o r in equity, against th e
                 United S tates, its a gencies or other entities,
2                its offi cers or empl oyees, or any other person.
3
     OMB IQA Bulletin for Peer Review at Part XII, p. 41
4
     (emphasis adde d).
5
              Salt I nstitu te hel d: “Judicial revi ew of [the
6
     agency’s ] discretion ary decisions is not availabl e under
7
8    the APA because the IQA and OMB guidelines at iss ue

9    insulate the agency’ s determinations of when corr ection

10   of infor mation conta ined in informal agency state ments is
11   warrante d.”     345 F. Supp. 2d at 603.           Likewise, t he OMB
12
     IQA Bull etin insulat es from judicial review the a gency’s
13
     determin ations about peer reviewers.
14
           The IQA itself conta ins no standards concerning p eer
15
     review, committing s uch matters to ag ency d iscretion.
16
17   The OMB IQA Bulletin for Peer Review specifically

18   disclaim s that its c ontents create any enforceabl e
19   rights, thereby pres erving the agency’s discretio n to
20
     interpre t and apply the OMB IQA Bulletin for Peer Review.
21
     There is “no law to apply” to Plainti ff’s claim regarding
22
     the make up of the pe er review panel.             Section 701 (a)(2)
23
     bars jud icial review of the Third Claim.
24
25
                 b.    Plaintif f’s Argument s That Salt Institute
26                     and Othe r Cases Cite d by Defendants Are
                       Distingu ishable.
27
           Plaintif f seek s to distin guish Salt Institu te on that
28
                                          25
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1    ground t hat, there, plaintiff sought to obt ain
2    informat ion from the Department of Health and Hum an
3
     Services under the I QA, not to correct alle gedly
4
     erroneou s informatio n disseminated by that agency .                  Do c.
5
     67 at 13 .     The Salt Institute plainti ffs alleged that the
6
     defendan t agency, th e National Heart, Lung and Bl ood
7
8    Institut e (“NHLBI”), violated the IQA by (1) fail ing to

9    disclose certain dat a and methods used by a grant

10   recipien t, (2) repor ting the results of that study on the
11   NHLBI we bsite and in medical journals, and (3)
12
     recommen ding that pe ople limit their sodium intak e.                  Salt
13
     Institut e v. Thompso n, 345 F. Supp. 2d at 5 92-93.                  The
14
     second a nd third cla ims in Salt Institute were re quest s
15
     to corre ct erroneous information, not only requests fo r
16
17   informat ion.      The Fo urth Circuit affirmed dismiss al of

18   the clai ms for lack of standing, reasoning:
19               By its t erms, [the I QA] statute creates no legal
                 rights i n any third parties. Instead, it orders
20
                 the Offi ce of Manage ment and Budget t o draf t
21               guidelin es concernin g information quality and
                 specifie s what those guidelines should contain.
22               Because the statute upon which appellants rely
                 does not create a le gal right to access to
23               informat ion or to correctness, appellants have
                 not alle ged an invas ion of a legal right an d,
24               thus, ha ve failed to establish an injury in fact
25               sufficie nt to satisf y Article III.

26   Salt Ins t. v. Leavit t, 440 F.3d 156, 159 (4 th Cir. 200 6).

27         Federal Defendants c ite a number of other cases i n
28
                                          26
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1    which co urts have re fused to exercise jurisdictio n over
2    IQA clai ms.         S ee In re Op eration of the Mis souri River
3
     Sys. Lit ig., 3 63 F. Supp. 2d 1145, 1174 (D. Minn. 2004) 9
4
     (“[T]he language of the IQA indicates that the Co urt may
5
     not revi ew an agency ’s decision to deny a party’s
6
     informat ion qu ality complaint.                    The IQA does not provide
7
8    for a pr ivate cause of action....”), aff’d in par t and

9    vacated in part on o ther grounds, 421 F.3d 618 (8 th Cir.

10   2005); H aas v. Gutie rrez, 200 8 WL 2566634, *6 (S.D.N.Y .
11   June 26, 2008) (same ); Americans for Safe Access v. U. S.
12
     Dep’t of Health & Hu man Servs., 2007 WL 214 1289, *4 (N .D.
13
     Cal. Jul y 24, 2007), aff’d 2010 WL 4024989 (Oct. 14,
14
     2010)(sa me).
15
            Plaintif f argues tha t Sal t In stitute and th ese ot her
16
17   cases ar e distinguis hable on the ground none of t hem

18   involved “fina l agen cy action” cognizable under t he APA.
19   The issu ance of the 2008 Smelt BiOp is indisputab ly final
20
     agency a ction under the APA.                     However, whet her or not
21
     Plaintif f challenges final agency action is irrel evant to
22
     the appl icability of APA § 701(a)(2), which operates a s a
23
     threshol d bar to ope ration of the APA in this IQA case,
24
25
            9
               At o ra l ar gu me nt , Pl ain ti ff a tt em p ted t o di st in gu is h Mi sso ur i
26   Riv er o n th e gr ou nd t hat t he I QA w a s a “ pe ri ph er al ” is su e i n th at
     cas e. Pe ri ph er al o r not , th e Mi ss o uri R iv er d ec is io n di rec tl y
27   add re ss ed w he th er a ge ncy a ct io n un d er th e IQ A wa s co mm it ted t o
     age nc y di sc re ti on b y law b ar ri ng j u dic ia l re vi ew u nd er 5 U. S. C. §
28   701 (a )( 2) .
                                                  27
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1    regardle ss of the pr esence of “final agency actio n.”
2
                 c.    Prime Ti me Int’l Co. v. Vilsack, 599 F.3d
3                      678 (D.C . Cir. 2010) Does Not Support
                       Assertio n of Judicia l Review in this Case.
4
           Plaintif f places gre at emphasis on the D.C Circui t’s
5
6    recent d ecision in Prime Time Int’l C o. v. Vilsack, 599

7    F.3d 678 (D.C. Cir. 2010), to argue that the DC Circui t

8    has deci ded the IQA is judicially reviewable.                 Th e
9    district court, in Single Stick, Inc. v. Johanns, 601 F.
10
     Supp. 2d 307, 316 (D .D.C. 2009), found that plain tiff did
11
     not have standing to pursue its claims that USDA violated
12
     the IQA by failing t o correct or disclose data so urces
13
     underlyi ng its marke t share calculations and by f ailing
14
15   to respo nd to plaint iff’s petition and request for

16   reconsid eration:

17               To allow a plaintiff to seek review of an
                 agency’s violation o f a statute, the court must
18               examine “whether or not Congress intended to
19               confer i ndividual ri ghts upon a class of
                 benefici aries” in enactin g the statute. Gon zaga
20               Univ. v. Doe, 536 U.S. 273, 285 (2002). “The
                 question is not simp ly who would benefit from
21               the Act, but whether Congress intended to confer
                 federal rights upon those beneficiaries.”
22               Californ ia v. Sierra Club, 451 U.S. 287, 294
23               (1981). To make this determination, a court
                 should f ocus on whet her the statute contains
24               “rights- creating lan guage,” see Gonza ga Univ.,
                 536 U.S. at 287, whi ch is language that
25               emphasiz es the indiv iduals protected rather than
                 simply d ictating the actions an agenc y shou ld
26               take. Se e Alexander v. Sandoval, 532 U.S. 2 75,
                 289 (200 1) (holding that “[s]tatutes that focus
27
                 on the p erson regula ted rather than the
28               individu als protecte d create ‘no implication of
                                     28
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1                an inten t to confer rights on a particular class
                 of perso ns’ ” (quoti ng Sierra Club, 4 51 U.S. at
2                294)).
3
                 The IQA “creates no legal rights in any third
4                party,” and “does no t create a legal right to
                 access t o informatio n or to correctness.” Salt
5                Inst. v. Leavitt, 440 F.3d 156, 159 (4th
                 Cir.2006 ). Both the actual te xt of the stat ute
6                and its implementing guidelines dictate the
                 actions that agencie s must take and do not
7                contain “individuall y focused terminology.”
8                Gonzaga Univ., 536 U.S. at 287; see 44 U.S. C. §
                 3516 not e (“The Dire ctor [of the Office of
9                Manageme nt and Budge t (“O MB”) ] shall ... is sue
                 guidelin es ... that provide policy and
10               procedur al guidance to Federal agencies ...”);
                 see also Guidelines for Ensuring and Maximizing
11               the Qual ity, Objecti vity, Utility, and Integrity
12               of Infor mation Disse minated by Federal Agen cies,
                 67 Fed. Reg. 8452, 8 458 (Feb. 22, 2002)
13               (republi cation) (ord ering that agencies should
                 “[i]ssue their own i nformation quality
14               guidelin es[,] ... [e ]stablish administrative
                 mechanis ms[, and] .. . report to the Director of
15               OMB the number and n ature of complaints”). The
                 focus of the IQA is the communication between
16
                 agencies and the dev elopment of internal
17               procedur es for ensur ing quality of information.
                 While th e statute ob ligates agencies to
18               establis h a process by which individuals can
                 alert an agency to a need for information
19               correcti on to improv e information quality, the
                 statute does [not] c ontain any indication that
20
                 individu als choosing to participate in such a
21               process have a right to seek or correct
                 informat ion. See 67 Fed. Reg. at 8458-59.
22               Because the IQA lack s any rights-creating
                 language , Single Sti ck has no right under that
23               statute to seek revi ew of the USDA’s actions.
24   Id. at 316.
25
           The tria l court found that plaintiff’s chal lenge
26
     could no t proceed un der the APA because there was no
27
     final ag ency a ction:
28
                                          29
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1                An agenc y action is reviewable under the APA
                 only if the action i s a final agency action.
2                Norton v . S. Utah Wi lderness Alliance, 542 U.S.
                 55, 61-6 2 (2004). A final agency action is one
3
                 where “‘ rights or ob ligations have been
4                determin ed,’ or from which ‘legal consequences
                 will flo w[.]’” Benne tt v. Spe ar, 520 U.S. 1 54,
5                178, (19 97) (quoting Port of Boston M arine
                 Terminal Ass’n v. Re deriaktiebolaget
6                Transatl antic, 400 U .S. 62, 71 (1970)). Because
                 the IQA does not ves t any party with a right to
7                informat ion or to co rrection of information, see
8                Salt Ins t., 440 F.3d at 159, the USDA’s actions
                 under th e IQA did no t determine Single Stick’s
9                rights o r cause any legal consequence. See Ams.
                 for Safe Access v. H HS, N o. C 07-01049 WHA, 2007
10               WL 21412 89, at *4 (N .D. Cal. July 24, 2007)
                 (holding that becaus e the IQA does not grant any
11               legal ri ghts, there was no legal consequence
12               flowing from the def endant’s response to the
                 plaintif f’s IQA peti tion). Accordingly, the
13               USDA’s l ack of respo nse was not a final agency
                 action a nd cannot be reviewed under t he APA. See
14               id.
15   Id. at 3 16-317 .
16
           The D.C. Circu it affirmed dismissal of the IQA claims
17
     on an en tirely diffe rent ground, base d on USDA’s
18
     argument , not raised below, that an exemption fro m the
19
     term “di ssemination” used in the OMB guidel ines barred
20

21   plaintif f’s claim:

22               The Info rmation Qual ity Act of 2000 provides
                 that the Director of the Office of Management
23               and Budg et (“OMB”) s hall, “with public and
                 Federal agency invol vement,” issue guidelines by
24               the end of September 2001 that:
25
                       provide policy and p rocedural guidance to
26                     Federal agencies for ensuring and maximizing
                       the qual ity, objecti vity, utility, and
27                     integrit y of informa tion (including
                       statisti cal informat ion) disseminated by
28                     Federal agencies in fulfillment of the
                                      30
     Case 1:09-cv-01201-LJO-JLT Document 75 Filed 10/26/10 Page 31 of 44


1                      purposes and provisions of chapter 35 of
                       title 44 , United Sta tes Code, commonly
2                      referred to as the P aperwork Reduction Act.
3                44 U.S.C . § 3516 not e (a). The guidelines “apply
                 to the s haring by Fe deral agencies of, and
4                access t o, informati on disseminated by Federal
                 agencies ,” and require such agencies to “issue
5                guidelin es ensuring and maximizing the quality,
                 objectiv ity, utility , and integrity of
6                informat ion ... diss eminated by the agency.” Id.
                 § 3516 n ote (b)(1), (2)(A). Each such Federal
7                agency s hall, under the guidelines, “establ ish
                 administ rative mecha nisms allowing affected
8                persons to seek and obtain correction of
                 informat ion maintain ed and disseminated by the
9                agency t hat does not comply with the guidelines
                 issued u nder” the IQ A. Id. § 3516 note
10               (b)(2)(B ).
11               The OMB Guidelines d efine “dissemination” as
                 “agency initiated or sponsored distribution of
12               informat ion to the p ublic.” 67 Fed. Reg. at
                 8460. Th e definition excludes “distribution
13               limited to ... adjud icative processes.” Id. On
                 appeal, USDA points to the preamble to OMB’s
14               Guidelin es:
15                     The exem ption from t he definition of
                       “dissemi nation” for “adjudicative processes”
16                     is inten ded to exclu de, from the scope of
                       these gu idelines, th e findings and
17                     determin ations that an agency makes in the
                       course o f adjudicati ons involving specific
18                     parties. There are w ell-estab lished
                       procedur al safeguard s and rights to address
19                     the qual ity of adjud icatory decisions and to
                       provide persons with an opportunity to
20                     contest decisions. T hese guidelines do not
                       impose a ny additiona l requirements on
21                     agencies during adju dicative proceedings and
                       do not p rovide parti es to such adjudicative
22                     proceedi ngs any addi tional rights of
                       challeng e or appeal.
23
                 67 Fed. Reg. at 8454 . USDA’s guidelines, in
24               turn, ex clude “docum ents prepared and released
                 in the c ontext of adjudicative proces ses.” USDA
25               Informat ion Quality Guidelines, Definitions, §
                 2, supra note 4.
26
                 Prime Ti me sought di sclosure and correction
27               under th e IQA of the data that USDA used to
                 calculat e its [] ass essments[.] USDA never
28               responde d, and Prime Time challenges that
                                     31
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1                nonrespo nse. USDA ma intains that the IQA does
                 not mand ate the issu ance of information but
2                merely i nstructs OMB to “provide policy and
                 procedur al guidance” for ensuring quality,
3                utility, and integri ty of information. 44 U.S.C.
                 § 3516 n ote (a). Prime Ti me relies, however , on
4                the prov ision that r equires agencies to
                 “establi sh administr ative mechanisms allowing
5                affected persons to seek and obtain correction
                 of infor mation maint ained and disseminated by
6                the agen cy.” Id. § ( b)(2) (B). Regardless,
                 because Congress delegated to OMB authority to
7                develop binding guid elines implementing the IQA,
                 we defer to OMB’s re asonable construction of the
8                statute. See United States v. Mead, 5 33 U.S.
                 218, 226 -27 (2001). The IQA is silent on the
9                meaning of “dissemin ation,” a nd in defining the
                 term OMB exercised i ts discretion to exclude
10               document s prepared a nd distributed in the
                 context of adjudicat ive proceedings. This is a
11               permissi ble interpre tation of the statute, see
                 Chevron, 467 U.S. at 843, and Prime T ime does
12               not cont end otherwis e. Rather, Prime Time
                 attempts to avoid th e consequences of the IQA
13               exemptio n for adjudi cations on the ground it is
                 waived b ecause USDA did not raise it in the
14               district court.
15   Id. 684- 86 (footnote s omitted).
16         The issue of w hether the newly raised argum ent should
17
     be addre ssed was dec ided affirmatively:
18
                 This cou rt has repea tedly recognized that issues
19               and lega l theories n ot asserted in the district
                 court “o rdinarily wi ll not be heard on appeal.”
20               See, e.g ., Horowitz v. Peace Corps, 4 28 F.3d
                 271, 282 (D.C. Cir. 2005).... The reasons for
21               this rul e are clear:

22                     [O]ur pr ocedural sch eme contemplates that
                       parties shall come t o issue in the trial
23                     forum ve sted with au thority to determine
                       question s of fact. T his is essential in
24                     order th at parties m ay have the opportunity
                       to offer all the evi dence they believe
25                     relevant to the issu es which the trial
                       tribunal is alone co mpetent to decide; it is
26                     equally essential in order that litigants
                       may not be surprised on appeal by final
27                     decision there of is sues upon which they
                       have had no opportun ity to introduce
28                     evidence .
                                      32
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1
                 Hormel v . Helvering, 312 U.S. 552, 55 6 (194 1).
2
                 USDA did not raise t he “exemption for
3                adjudica tions” argum ent in the district court,
                 so norma lly it would be forfeited. See gene rally
4                United S tates v. Olano, 5 07 U .S. 725, 733
                 (1993). However, in Singl eton v. Wulff, 428 U.S.
5                106, 121 (1976), the Supreme Court observed:
6                      The matt er of what q uestions may be taken up
                       and reso lved for the first time on appeal is
7                      one left primarily t o the discretion of the
                       courts o f appeals, to be exercised on the
8                      facts of individual cases. We announce no
                       general rule. Certainly there are
9                      circumst ances in whi ch a federal appellate
                       court is justified i n resolving an issue not
10                     passed o n below, as where the proper
                       resoluti on is beyond any doubt, see T urner
11                     v. City of Memphis, 369 U .S. 350 (1962).
12               The “pro per resoluti on [of the IQA issue] is
                 beyond a ny doubt,” s o this court is free to
13               reach it . The issue involves a straig htforward
                 legal qu estion, and both parties have fully
14               addresse d the issue on appeal. Consequently, no
                 “injusti ce” will be done if we decide the issue.
15               Id.
16   Prime Ti me, 59 9 F.3d at 6 86 (emphasis added ).
17         FFA argu es tha t the D.C. Circuit affirmed the
18
     dismissa l on an issu e other than the availability of
19
     judicial review under the IQA, which amounts to an
20
     implied finding that there is a right to judicial review
21
     under th e IQA.      To t he contrary, the appeals court
22
23   specific ally c oncluded the underlying agency action --

24   USDA’s d etermination of manufacturer’s assessment s under

25   the Fair and Equitab le Tobacco Reform Act ( “FETRA”) --
26   was an a djudicatory proceeding subject to judicia l review
27
28
                                          33
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1    directly under FETRA : 10
2                  USDA’s d etermination of Prime Time’s assessments
                   for thre e quarters o f FY 2005 was an
3                  adjudica tion, attend ant to which Prime Time had
                   rights t o an adminis trative appeal and judicial
4                  review. See 5 U.S.C. § 55 1(7) (defining
                   “adjudic ation”); 7 U .S.C. § 518d(i), (j). Prime
5                  Time’s c ontention th at USDA violated the IQA
                   when it did not resp ond to a request to disclose
6                  and corr ect certain infor mati on underlying the
                   tobacco assessments thus fails.
7
                   Accordin gly ... we a ffirm the dismissal of the
8                  IQA chal lenge, altho ugh on a different ground
                   than rel ied upon by the district court.
9
     Id. at 6 86.         T here w as no need to and that decision di d
10
11   not eval uate whether the IQA provided a basis for

12   judicial review unde r the APA. 11                    Prime Time does n ot

13   support Plaintiff’s argument that by negative inference
14   the IQA provides a r ight to judicial review. 12
15
16          10
                Ne it he r th e is su an ce of t he 2 00 8 S mel t Bi Op n or F WS ’s a cti on s
     wit h re sp ec t to t he p eer r ev ie w pa n el co ns ti tu te a dj ud ic ati on s un de r
17   the A PA , wh ic h de fi ne s “ ad ju di ca ti o n” to m ea n me an s “a ge ncy p ro ce ss
     for t he f or mu la ti on o f a n or de r. 5 U. S. C. § 5 51 (7 ). An “o rd er ” is
18   “th e wh ol e or a p ar t of a fi na l di s pos it io n, w he th er a ff irm at iv e,
     neg at iv e, i nj un ct iv e, or d ec la ra to r y i n fo rm , of a n ag en cy in a
19   mat te r ot he r th an r ul e m ak in g bu t i ncl ud in g li ce ns in g. ” § 55 1( 6) .
     The i ss ua nc e of a b io log ic al o pi ni o n i s, h ow ev er , re vi ew abl e un de r
20   the A PA a s “f in al a ge ncy a ct io n” s u bje ct t o ju di ci al ly m ana ge ab le
     sta nd ar ds s et f or th i n t he E SA . C a lif or ni a Tr ou t v. F .E .R. C. , 57 2
21   F.3 d 10 03 , 10 11 n . 4 (9t h Ci r. 2 00 9 ).
            11
                Th e go ve rn me nt p et it ion ed f or r eh e ari ng t o se ek a s pe ci fic
22   rul in g th at t he I QA i s n ot j ud ic ia l ly re vi ew ab le . T he D C C ir cu it
     iss ue d a si ng le p ag e den ia l, w hi ch did n ot a dd re ss j ud ic ial
23   rev ie wa bi li ty . S ee U nit ed S ta te s v . C ot e, 5 1 F. 3d 1 78 , 181 ( 9t h
     Cir . 19 95 ) (s um ma ry d eni al o f a re h ear in g pe ti ti on d oe s not
24   est ab li sh t ha t th e co urt c on si de re d an d de ci de d th e is su e t he
     pet it io n pr es en te d) .
25          12
                Th e OM B Gu id el in es a ckn ow le dg e “[ t ]he re a re w el l- es ta bl ish ed
     pro ce du ra l sa fe gu ar ds an d ri gh ts t o ad dr es s th e qu al it y of
26   adj ud ic at or y de ci si on s a nd t o pr ov i de pe rs on s wi th a n op por tu ni ty t o
     con te st d ec is io ns ,” a nd ex pl ai n th a t “ [t ]h es e gu id el in es do n ot
27   imp os e an y ad di ti on al re qu ir em en ts on ag en ci es d ur in g ad jud ic at iv e
     pro ce ed in gs a nd d o no t p ro vi de p ar t ies t o su ch a dj ud ic at ive
28   pro ce ed in gs a ny a dd it ion al r ig ht s o f c ha ll en ge o r ap pe al .” 6 7 Fe d.
                                                  34
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1          3.     Standing .
2                 a.     Presenta tion of Comp etent Evidence.
3          Federal Defendants c omplain that, at least as of the
4    filing o f thei r repl y bri ef, Plaintiff pres ented no
5
     evidence demonstrati ng its standing.                     FFA erroneo usly
6
     insisted in its own reply/opposition that such fa cts only
7
     need be alleged in i ts complaint.                   See Doc. 67 at 5. 13            On
8
     summary judgment, FF A must establish standing to sue b y
9
10   “compete nt evidence” :

11                The part y invoking f ederal jurisdiction bears
                  the burd en of establ ishing the[ ] elements [of
12                standing ].... Since they are not mere pleading
                  requirem ents but rat her an indispensa ble part of
13                the plai ntiff’s case , each element must be
                  supporte d in the sam e way as any other matter on
14                which th e plaintiff bears the burden of proof,
                  i.e., wi th the manne r and degree of evidence
15                required at the succ essive stages of the
                  litigati on. At the pleading stage, general
16                factual allegations of injury resulting from the
                  defendan t’s conduct may suffice, [] on a motion
17                to dismi ss we presum [e] that general allegations
                  embrace those specif ic facts that are necessary
18                to suppo rt the claim . In response to a summary
                  judgment motion, how ever, the plaintiff can no
19                longer r est on such mere allegations, but must
                  set fort h by affidav it or other evidence
20                specific facts which for purposes of the summary
                  judgment motion will be taken to be true.
21
     Lujan v. Defenders o f Wildlife, 504 U .S. 555, 560 -61
22
     (1992) ( internal cit ations and quotation marks om itted).
23
           Although two individ uals filed standing affidavit s on
24
25
     Reg . 8, 45 4.
26          13
                Pl ai nt if f al so o bj ec ts th at F ed er a l D ef en da nt s’ d id n ot
     tim el y ra is e th e is su e o f st an di ng . S ee D oc . 67 a t 4- 5. T hi s
27   obj ec ti on i s wi th ou t mer it . S ta nd i ng go es t o su bj ec t ma tte r
     jur is di ct io n, t he a bs enc e of w hi ch can b e ra is ed “ at a ny ti me ” by a
28   par ty o r th e Co ur t.      See F ed . R. C i v. P. 1 2( h) (3 ).
                                               35
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1    behalf o f FFA in the Delta Smelt Cons olidat ed Cases on
2    December 3, 2009, th ose declarations were not fil ed in
3
     this cas e unti l September 7, 2010, several weeks after
4
     Plaintif f filed its reply brief in connection wit h these
5
     cross mo tions.      See Docs. 69 & 70.         T he sta nding
6
     declaran ts, Joe Del Bosque and Chris Hurd, both c laim to
7
8    members of FFA.        Both are farmers in Fresno County, an d

9    claim to have been h armed by the water export

10   restrict ions imposed by the 2008 Biological Opini on.                 See
11   id.
12
           A court has a sua sponte duty to examine standing in
13
     every ca se.     B ernhardt v. County of Los Angeles, 279 F.3d
14
     862, 868 (9 th Cir. 2002) .        Normally, to prevent prejudice
15
     from the late filing of these declarations, Defen dants
16
17   should b e afforded the opportunity to respond.                  H owever,

18   because Plaintiff’s standing declarat ions are
19   insuffic ient a s a matter of law, furt her br iefing is
20
     unnecess ary.
21
22               b.    Legal St andard Re: S tanding.

23         Standing is a judici ally created doctrine that is an

24   essentia l part of th e case-or-controv ersy requirement of
25   Article III.       Pritikin v. Dept. of Energy, 254 F.3d 79 1,
26
     796 (9th Cir. 2001).          “To satisfy the Article III case or
27
     controve rsy requirem ent, a litigant must have suf fered
28
                                          36
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1    some act ual injury t hat can be redressed by a fav orable
2    judicial decision.”         Iron Arrow Honor Soc. v. Heckler,
3
     464 U.S. 67, 70 (198 4).          “In essence the question of
4
     standing is wh ether the litigant is entitled to have the
5
     court de cide the mer its of the dispute or of part icular
6
     issues.”     Wart h v. S eldin , 422 U.S. 490, 498 (197 5).
7
8          The doct rine of stan ding “requires careful judici al

9    examinat ion of a com plaint’s allegations to ascer tain

10   whether the particul ar plaintiff is entitled to a n
11   adjudica tion of the particular claims asserted.”                     Allen
12
     v. Wrigh t, 468 U.S. 737, 752 (1984).              “The court is
13
     powerles s to create its own jurisdiction by embel lishing
14
     otherwis e deficient allegations of st anding.”                 Whitmo re
15
     v. Arkan sas, 4 95 U.S., 149 155-56 (9th Cir. 1990) ;
16
17   Schmier v. U.S. Cour t of Appeals for Ninth Circui t, 279

18   F.3d 817 , 821 (9th C ir. 2002).           Standing requires three
19   elements .
20
                 First, t he plaintiff must have suffered an
21               “injury in fact” -- an invasion of a legall y
                 protecte d interest w hich is (a) concrete and
22               particul arized and ( b) actual or imminent, not
                 conjectu ral or hypot hetical. Second, there must
23               be a cau sal connecti on between the injury and
                 the cond uct complain ed of -- the injury has to
24               be fairl y traceable to the challenged action of
                 the defe ndant, and n ot the result of the
25               independ ent action o f some third party not
                 before t he court. Th ird, it must be likely, as
26               opposed to merely sp eculative, that the injury
                 will be redressed by a fa vorable decision.
27
     Lujan v. Defenders o f Wildlife, 504 U .S. 555, 560 -61
28
                                          37
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1    (1992) ( internal cit ations and quotations omitted ).                When
2    a plaint iff seeks to vindicate a procedural harm, rather
3
     than a s ubstantive r ight, the causation and
4
     redressi bility requiremen ts are relaxed:
5
                 A showin g of procedu ral injury lessens a
6                plaintif f’s burden o n the last two prongs of the
                 Article III standing inquiry, causation and
7                redressi bility. Plai ntiffs alleging procedural
8                injury m ust show onl y that they have a
                 procedur al right tha t, if exe rcised, could
9                protect their concre te interests.

10   Salmon S pawning & Re covery Alliance v. Gutierrez, 545
11   F.3d 122 0, 1226 (9th Cir. 2008) (emphasis in orig inal)
12
     (interna l citations and quotations omitted).
13
           Where an organizatio n or association sues on behalf
14
     of its m embers, that organization or association must
15
     demonstr ate that: (1 ) its members would otherwise have
16
17   standing to sue in t heir own right; (ii) the inte rests it

18   seeks to protect are germane to the organization’ s

19   purpose; and (iii) n eithe r th e claim asserted nor the
20   relief r equested req uires the participation of in dividual
21
     members in the lawsu it.          Friends of the Earth, In c. v.
22
     Laidlaw Envtl. Servs . (TOC), Inc., 528 U.S. 167, 181
23
     (2000).
24
           Standing is evaluate d on a claim-by-claim b asis.               “A
25
26   plaintif f must demon strate standing ‘for each cla im he

27   seeks to press’ and for ‘each form of relief soug ht.’”
28
                                          38
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1    Oregon v . Legal Serv s. Corp., 552 F.3 d 965, 969 ( 9th Cir.
2    2009) (q uoting DaimlerChrysler Corp. v. Cuno, 547 U.S.
3
     332, 352 (2006)).        “ [S]tanding is not dispensed i n
4
     gross... .”      Le wis v. Casey, 5 18 U.S. 343, 358, n.6
5
     (1996).
6
                 The actu al-inj ury re quire ment would hardly serve
7                the purp ose ... of p reventing courts from
                 undertak ing tasks as signed to the political
8                branches [,] if once a plaintiff demonstrate d
                 harm fro m one partic ular inadequacy in
9                governme nt administr ation, the court were
                 authoriz ed to remedy all inadequacies in that
10               administ ration.
11   Id. at 3 57.
12
13               c.    Injury-In-Fact.

14         Salt Ins titute v. Le avitt, 440 F.3d 156, 158-59 (4th

15   Cir. 200 6), affirmed the dismissal of two I QA claims – -

16   one alle ging that in formation was withheld in vio lation
17   of the I QA and anoth er alleging that erroneous
18
     informat ion was rele ased in violation of the IQA -- on
19
     the grou nd that the IQA creates no legal right to
20
     informat ion or its correctness and therefore that
21
     plaintif fs had no st anding to sue:
22
23               To invok e the jurisd iction of an Article III
                 court, t he plaintiff s “must have suffered an
24               ‘injury in fact.’” Lujan v. Defenders of
                 Wildlife , 504 U.S. 5 55, 560 (1992). T he injury
25               “require d by Art. III may exist solely by virtue
                 of statu tes creating legal rights, the invasion
26               of which creates sta nding.” Id. at 57 8 (quo ting
                 Warth v. Seldin, 422 U.S. 490 , 500 (1975)). The
27               injuries alleged by appellants are the
                 deprivat ion of the r aw data from the studies and
28               the asse rted incorre ctness in NHLBI’s public
                                     39
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1                statemen ts.
2                Although there is no general common law right to
                 informat ion from age ncies or to informational
3                correctn ess, appella nts insist that these rights
                 are conf erred by the IQA... By its terms, [ the
4                IQA] cre ates no lega l rights in any third
                 parties. Instead, it orders the Office of
5                Manageme nt and Budge t to draft guidelines
                 concerni ng informati on quality and specifies
6                what tho se guideline s should contain. Because
                 the stat ute upon whi ch appellants rely does not
7                create a legal right to access to information or
                 to corre ctness, appe llants have not alleged an
8                invasion of a legal right and, thus, have failed
                 to estab lish an inju ry in fact sufficient to
9                satisfy Article III.
10   Id. at 1 58-59 (emphasis added)(footno tes om itted).                 FF A’s
11   contenti on tha t assertion of an informational inj ury is
12
     sufficie nt was speci fically rejected:
13
                 Against this conclus ion, appellants argue that
14               the Supr eme Court re cognized the sufficiency of
                 informat ional injuri es in Fed eral Ele ction
15               Commissi on v. Akins, 524 U.S. 11 (199 8).
                 However, in relying upon Akins, appel lants
16               confuse two distinct standing inquiries: the
                 concrete ness of the alleged injury and the
17               status o f the claime d right. In Akins , the
                 Supreme Court held t hat an informatio nal injury
18               was “suf ficiently co ncrete and specific” to
                 satisfy Article III. Id. at 25. In th is cas e, we
19               have not decided (an d need not decide) the
                 question whether app ellants’ alleged injury is
20               sufficie ntly concret e and specific. Rather, we
                 have dec ided the ant ecedent question whether
21               Congress has granted a legal right to the
                 informat ion in quest ion. Akins contro ls the
22               former q uestion, but not the latter. Indeed , on
                 the latt er question, Akins is distinguishab le
23               because the statute in question there, the
                 Federal Election Cam paign Act of 1971, clearly
24               created a right to i nformation by requiring the
                 Federal Election Com mission to make certain
25               informat ion availabl e to the public. See 2
                 U.S.C. § 434(a)(11)( B) (“The Commission shall
26               make a d esignation, state ment , report, or
                 notifica tion that is filed with the Commission
27               under th is Act avail able for inspection by the
                 public.” ). The IQA, by co ntra st, does not c reate
28               any lega l right to i nformation or its
                                     40
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1                correctn ess.
2                Because the statute upon which appellants r ely
                 does not grant the r ights that appellants claim
3                were inv aded, appell ants cannot establish an
                 injury i n fact and, therefore, lack Article III
4                standing to pursue t heir case in the federal
                 courts.
5
6    Id. at 1 59 (em phasis added)(footnotes omitted).
7          Salt Ins titute ’s reasoning is sound.             “The injury
8
     required by Article III can exist solely by virtu e of
9
     ‘statute s creating l egal rights, the invasion of which
10
     creates standing.’”         Edwards v. First Am. C orp., 610 F .3d
11
     514, 517 (9th Cir. 2 010)(quoting Warth v. Seldin, 422
12
13   U.S. 490 , 500 (1975) ).        The IQA creates no enforc eable

14   legal ri ghts at all, as the O MB and FWS Guidelines

15   contain no judiciall y manageable standards releva nt to
16   Plaintif f’s claims.        There is no stan ding.         Subject
17
     matter j urisdiction over Plaintiff’s IQA cl aims is absent
18
     because no statutes or regulations create the rig hts FFA
19
     claims w ere violated.
20

21   B.    Merits o f Third Clai m for relief.
22         FFA alle ges that FWS violated the IQA when it
23
     commissi oned an outs ide peer review of the Octobe r 2008
24
     draft Bi ological Opinion, because two members of that
25
     peer rev iew had eith er conducted research on the delta
26

27   smelt pr eviously, or had mentorship connections w ith

28   scientis ts who had d one so, or had allegedly acce pted
                                   41
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1    grants f rom the agen cies responsible for the Biol ogical
2    Opinion, and were no t sufficiently “independent” for
3
     purposes of the IQA.          Doc. 54 -1 at 21 -25.       Becaus e the re
4
     are mult iple thresho ld jurisdictional bars to jud icial
5
     review o f FFA’s clai ms, it is unnecessary to discuss the
6
     merits o f the Third Claim for Relief in det ail.
7
8          Arguendo , reviewing this claim on the merits, the

9    OMB’s IQ A Bulletin f or Peer Review, which incorpo rates

10   the NAS Peer Review Policy, and which is in turn
11   incorpor ated by refe rence into FWS’s IQA Guidelin es,
12
     specific ally disclai ms creating any rights enforc eable
13
     against the United S tates.           OMB IQA B ulletin for Peer
14
     Review a t Part XII, p. 41 (emphasis added).                The Third
15
     Claim fa ils as a mat ter of law.
16
17
     C.    Certific ation of Par tial Judgment.
18
           Rule 54( b) “permits a district court to enter
19
     separate final judgm ent on any claim or cou ntercl aim,
20
     after ma king an expr ess determination that there is no
21
22   just rea son for dela y.        This power is largely

23   discreti onary, to be exercised in light of judici al

24   administ rative inter ests as well as the equities
25   involved , and giving due weight to the historic f ederal
26
     policy a gainst piece meal appeals.”            Reiter v. Coo per, 507
27
     U.S. 258 , 265 (1993) (internal citations and quot ations
28
                                          42
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1    omitted) .     Rule 54(b ) should be applied using a
2    “pragmat ic approach focusing on severability and
3
     efficien t judicial a dministration.”             Continental
4
     Airlines , Inc. v. Go odyear Tire & Rubber Co., 819 F.2d
5
     1519, 15 25 (9th Cir. 1987).           Certification under Rule
6
     54(b) ma y be appropr iate where the matters dispos ed of
7
8    are “suf ficiently se verable factually and legally from

9    the rema ining matter s,” and could “completely ext inguish

10   [ ] ... liability.”         Id.
11         The Seco nd and Third Claims, which raise procedur al
12
     challeng es under FWS ’s IQA Guidelines related to the
13
     timing o f responses to an IQA Appeal and the make up of
14
     the peer review pane l that reviewed the BiOp, are legally
15
     distinct from the Fi rst Claim, which directly cha llenges
16
17   the qual ity of the s cience applied in the BiOp it self and

18   is being separately decided.              There is no reason to defer
19   entry of judgment on these claims.
20

21                                V. CONCLUSI ON

22         For the reasons stat ed above, Federal Defendants’

23   motion f or summary j udgment on the Se cond and Thi rd

24   Claims i s GRANTED; Plaintiff’s cross-motion as to thes e
25   claims i s DENIED.       The First claim ha s been severed fo r
26
     decision with the Consolidated Delta Smelt cases.
27
           Pursuant to Federal Rule of Civil Procedure 54(b) ,
28
                                          43
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1    there is no just rea son to delay entry of judgmen t as to
2    the Seco nd and Third Claims.             Partial final judgm ent will
3
     be enter ed for Defen dants and against Plaintiffs as to
4
     the Seco nd and Third Claims.
5
           Federal Defendants s hall submit a form of order
6
     consiste nt with this memorandum decision within five ( 5)
7
8    days fol lowing elect ronic service of this decision.

9
10   SO ORDER ED
     Dated: October 26, 2010
11
12
                                           /s/ O liver W. Wanger
13                                          Oliver W. Wang er
                                        United States Distri ct Judge
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